 Case 18-20338-GLT                           Doc    Filed 10/01/19 Entered 10/01/19 12:30:44                                Desc Main
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  Fill in this information to identify the case:

Debtor 1              William Bonchak, Jr.

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the: Western District of Pennsylvania

Case Number 18-20338 GLT




Official Form 410S1
Notice of Mortgage Payment Change                                                                                                  12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.

Name of Creditor: PNC Bank, N.A.                                           Court claim no. (if known): 19

Last four digits of any number you                                         Date of payment change:
use to identify the debtor’s account: 2466                                 Must be at least 21 days after date       10/ 25/2019
                                                                           of this notice

                                                                           New total payment:                        $148.90
                                                                           Principal, interest, and escrow, if any

Part 1:         Escrow Account Payment Adjustment

1. Will there be a change in the debtor's escrow account payment?
      No
      Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law.
            Describe the basis for the change. If a statement is not attached, explain why:__________________________
            ________________________________________________________________________________________

                  Current escrow payment: $_________________                           New escrow payment: $_________________


 Part 2:        Mortgage Payment Adjustment

2. Will the debtor's principal and interest payment based on an adjustment to the interest rate in the debtor's variable-rate
   note?
      No
      Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice
             is not attached, explain why:
             ____________________________________________________________________________________________

                  Current interest rate:                                                     New interest rate:
                  Current principal and interest payment:                                    New principal and interest payment:


 Part 3:         Other Payment Change

3. Will there be a change in the debtor's mortgage payment for a reason not listed above?
      No
      Yes. Attach a copy of any documents describing the basis for the change, such as repayment plan or loan modification
            agreement. (Court approval may be required before the payment change can take effect.)

          Reason for change:            Interest

          Current mortgage payment: $154.33                                       New mortgage payment: $148.90



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Debtor 1       William Bonchak, Jr.                                      Case number (if known) 18-20338
               First Name         Middle Name       Last Name



     Part 3:      Sign Here


    The person completing this Notice must sign it. Sign and print your name and your title, if any, and state
    your address and telephone number.

    Check the appropriate box.

               I am the creditor.

.              I am the creditor’s authorized agent.


    I declare under penalty of perjury that the information provided in this Notice is true and correct to the best
    of my knowledge, information, and reasonable belief.



    X /s/ ERIN CARLSON                                                            Date      10 / 01 / 2019
             Signature




    Print:        ERIN CARLSON                                                     Title:    Support Specialist


Company           PNC Bank, National Association

Address:          P.O. Box 94982
                  Number   Street


                  Cleveland, OH 44101-0570
                  City         State     ZIP Code


Contact Phone: 1-800-642-6323 Ext. 62409                                           Email:




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